Case 9:21-cr-80039-RLR Document 202-1 Entered on FLSD Docket 09/13/2023 Page 1 of 1


Andrew Adler

From:            MOORE KATHERINE (48328509)

Sent Date:       Tuesday, September 12, 2023 4:06 PM

To:              andrew_adler@fd.org

Subject:         My Statement


To whom it may concern,

   My name is Katherine Marie Moore. My BOP Registration number is 48328509. This is my statement.
   My life changed when Suzanne Kaye was assigned to live in my room here in FMC Carswell. From the
beginning we bonded as if we are family. I call her Granny and will refer to her as such throughout this statement.
She told me stories of her days and through those stories I learned that she has several health conditions. One,
being that she she suffers from seizures.
   Through the weeks, she began getting my frail as time went on. One day she was standing at her locker after
talking on the phone with her mother, Brenda Kaye. She all of a sudden stopped talking and I looked to see her
slightly shaking from head to toe. I knew instantly that she was seizing. I immediately grabbed her from behind
and called for help. I laid her down and used a pillow to keep her from smashing her head against the concrete
floor. Eventually, the guards came and they rolled her onto a blanket and pulled her out of the room and into the
atrium in front of everyone. After what seemed like forever, medics arrived, put her on a gurney, and rolled her out
of the unit. She spent some time at a local hospital before being returned to the prison.
   I'm not good with dates but weeks later almost the same thing happened. Except, it was worse. I was talking to
her and she stopped and started shaking. I grabbed her again and she was still coherent this time, so we walked
to the bed and I laid her down. She continued to seize at this point and suddenly stopped breathing. I immediately
ran to tell the guard who in return had the look of horror on her face after being told that my roommate wasn't
breathing. I ran back to the room and the Ms. Santiago, the guard, followed. Arriving back in the room. I felt for
Granny pulse. She had one but was still not breathing. Ms. Santiago looked horrified and was unsure what to
relay over the radio as to what the medical issue was. I told her to say that she (Ms. Kaye) was seizing and not
breathing. At this point my other roommate arrived. Her name is Amanda Marney. I told Marney that we had to get
Granny on the floor. Quickly and softly we laid Granny on the floor. Then, I began doing mouth-to-mouth. I
watched as Granny's chest rose and then sat up as her lungs expelled the air. Granny's eyes were wide open but
you could see that the light was no longer there. She was gone. I continued to perform CPR which is extremely
stressful and tiring, which is why I was glad when Katherine Contreras arrived yelling that she knows CPR. I
stood up and let her take over. Minutes later the other guards and medics arrived. At first, the guards were yelling
for Contreras to stop doing CPR, but she persisted. Then the guards grabbed Granny by the arms and again
yanked her out of the room and into the atrium in front of everyone. She was turning blue by the time they lifter
her onto a gurney and rolled her out of the unit, away from my sight.
   A guard later told me that the guards did chest compressions in the elevator and that the ambulance showed up
fairly quickly. I was also told that the EMT's had to use a device to shock her back to life. Then she was later
intubated so that she could breathe. The hospital then released her after a few days and she returned to the unit
with severely bruised and swollen arms from being pocked and prodded so many times but unable to get an IV in.
The very next day she was rushed back to the hospital because the swelling was so bad and she was again
released to the prison with blood clots in her arms and a prescription for blood thinners.
   Since the beginning of her stay here in Carswell, she was forced to climb up 4 flights of stairs to get into the
unit. She was unable to receive an "elevator pass" in which she could use the elevator to get into the unit.
   If I had not been here for Granny, I fear that she would not be here with us today. I will be leaving soon. I think it
would be an injustice for Ms. Suzanne Kaye to be forced to stay in prison where she will die from lack of proper
medical care. I ask that she be blessed with a compassionate release.
Thank you,
Katherine M. Moore
BOP Reg # 48328509
9/12/2023




                                        Page 1     of 1                                                       9/12/2023
